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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   John J Hurry, et al.,                            No. CV-14-02490-PHX-ROS
10                  Plaintiffs,                       ORDER
11   v.
12   Financial Industry Regulatory Authority
     Incorporated, et al.,
13
                    Defendants.
14
15          Plaintiffs’ counsel have moved to withdraw and for a temporary stay of

16   proceedings to allow Plaintiffs time to retain new counsel. Plaintiffs’ counsel complied
17   with Local Rule 83.3 and will be allowed to withdraw. In addition, a limited stay is
18   appropriate. Plaintiffs are warned, however, that the entities cannot pursue their claims

19   without counsel. Thus, counsel must appear if the entities wish for this case to proceed
20   on their behalf.
21          Accordingly,

22          IT IS ORDERED the Motion to Withdraw (Doc. 116) is GRANTED. The Clerk
23   shall mail copies of this Order to the addresses listed in the Motion to Withdraw.
24          IT IS FURTHER ORDERED the Motion to Stay (Doc. 117) is GRANTED and

25   this case is stayed for thirty days.
26          IT IS FURTHER ORDERED no later than September 30, 2016, the parties
27   shall file a joint proposed scheduling order containing updated dates to govern this case.

28          IT IS FURTHER ORDERED Plaintiffs are warned that failure to comply with
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 1   this Order may result in the dismissal of their case pursuant to Federal Rule of Civil
 2   Procedure 41(b).
 3         Dated this 30th day of August, 2016.
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 6                                                   Honorable Roslyn O. Silver
 7                                                   Senior United States District Judge

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